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     OSCAR RODRIGUEZ
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:17-CR-00149 TLN
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                              )       ORDER
13
                                                     )
     RIGOBERTO NUNEZ,                                )
14
                                                     )
     OSCAR ANDRADE, and                              )
15   OSCAR RODRIGUEZ,                                )
                                                     )
16
            Defendants.                              )
                                                     )
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19
                                         STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and the
21
     defendants, by and through each counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on September 21, 2017.
23

24          2.      By this stipulation, the defendants now move to continue the status conference

25   until October 26, 2017, at 9:30 a.m. and to exclude time between September 21, 2017, and
26
     October 26, 2017, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The government is in the process of providing investigative reports, and any other
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 2   materials as part of discovery.

 3          b.      Counsel for the defendants desires additional time to consult with their respective
 4
     clients, to review the current charges, to conduct investigation and research related to the
 5
     charges, to review and copy discovery for this matter, to discuss potential resolutions with their
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 7
     clients, to prepare pretrial motions, and to otherwise prepare for trial.

 8          c.      Counsel for the defendants believe that failure to grant the above-requested
 9   continuance would deny them the reasonable time necessary for effective preparation, taking into
10
     account the exercise of due diligence.
11
            d.      The government does not object to the continuance.
12

13          e.      Based on the above-stated findings, the ends of justice served by continuing the

14   case as requested outweigh the interest of the public and the defendants in a trial within the
15
     original date prescribed by the Speedy Trial Act.
16
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
17
     et seq., within which trial must commence, the time period of September 21, 2017, to October
18

19   26, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

20   Code T4] because it results from a continuance granted by the Court at defendant’s request on
21
     the basis of the Court's finding that the ends of justice served by taking such action outweigh the
22
     best interest of the public and the defendants in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
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25   of the Speedy Trial Act dictate that additional time periods are excludable from the period within

26   which a trial must commence.
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     IT IS SO STIPULATED.
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 2                                         PHILLIP A. TALBERT
     Dated: September 19, 2017             U.S. ATTORNEY
 3
                                     By:   /s/ David D. Fischer for
 4
                                           JAMES CONOLLY
 5                                         Assistant U.S. Attorney
                                           Attorney for Plaintiff
 6

 7
     Dated: September 19, 2017             /s/ David D. Fischer for
 8                                         PRECILANO MARTINEZ
                                           Attorney for Defendant
 9                                         OSCAR ANDRADE
10

11
     Dated: September 19, 2017             /s/ David D. Fischer for
12
                                           DINA L. SANTOS
13                                         Attorney for Defendant
                                           OSCAR ANDRADE
14

15
     Dated: September 19, 2017             /s/ David D. Fischer
16                                         DAVID D. FISCHER
                                           Attorney for Defendant
17                                         OSCAR RODRIGUEZ
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19

20
                                           ORDER

21         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
22
     ordered that the September 21, 2017, status conference hearing be continued to
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     October 26, 2017, at 9:30 a.m. Based on the representation of defense counsel and
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     good cause appearing therefrom, the Court hereby finds that the failure to grant a
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     continuance in this case would deny defense counsel reasonable time necessary for
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     effective preparation, taking into account the exercise of due diligence. The Court
27   finds that the ends of justice to be served by granting a continuance outweigh the
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     best interests of the public and the defendant in a speedy trial. It is ordered that


                                              3
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 1   time beginning from September 21, 2017, up to and including the October 26,
 2   2017, status conference shall be excluded from computation of time within which
 3   the trial of this matter must be commenced under the Speedy Trial Act pursuant to
 4   18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense
 5   counsel reasonable time to prepare.
 6

 7   IT IS SO FOUND AND ORDERED this 19th day of September, 2017.
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                                                  Troy L. Nunley
12                                                United States District Judge
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